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  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY

  Caption in Compliance with D.N.J. LBR 9004-1(b)   BROWN RUDNICK LLP
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     In Re:                                                                               Chapter 11

     LTL MANAGEMENT, LLC,1                                                                Case No.: 23-12825 (MBK)

                                          Debtor.                                         Honorable Michael B. Kaplan


        DECLARATION OF DANIEL M. STOLZ IN SUPPORT OF THE OFFICIAL
     COMMITTEE OF TALC CLAIMANTS’ REPLY IN SUPPORT OF THEIR MOTION
     TO DISMISS SECOND BANKRUPTCY PETITION OF LTL MANAGEMENT, LLC

              I, Daniel M. Stolz, pursuant to 28 U.S.C. § 1746, declare under penalty of perjury, that the

 following in true and correct:

              1.           I am a partner with law firm Genova Burns LLC, local counsel to the Official

 Committee of Talc Claimants (the “TCC” or “Committee”).

              2.           I submit this declaration to place in the record on the Official Committee of Talc

 Claimants’ Reply in Support of Their Motion to Dismiss Second Bankruptcy Petition of LTL

 Management, LLC (“Reply”) certain documents submitted in connection with the Reply.

              3.           Attached hereto as TCC Trial Exhibit 9, is a true and correct copy of a document

 entitled “Approval Request – Memorandum of Approval” dated October 11, 2021, bearing Bates

 numbers LTL 0021791 to LTL 0021801 produced by the Debtor in connection with this matter.

              4.           Attached hereto as TCC Trial Exhibit 110 is a true and correct copy of an email

 dated July 19, 2021, bearing Bates numbers LTL 0030195 to LTL 0030197 produced by Debtor

 in connection with this matter.

              5.           Attached hereto as TCC Trial Exhibit 514 is a true and correct copy of the

 Declaration of John K. Kim in Support of First Day Pleadings (Doc. 5), filed by Debtor in In re

 LTL Management LLC, Case No. 21-30589 (Bankr. W.D.N.C. October 14, 2021).


 1            The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is 501 George Street, New Brunswick, New Jersey 08933.



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         6.        Attached hereto as TCC Trial Exhibit 760 is a true and correct copy of the Chapter

 11 Plan on Reorganization of LTL Management LLC (Doc. 525), filed by Debtor, in connection

 with this case.

         7.        Attached hereto as TCC Trial Exhibit 761 is a true and correct copy of excerpts

 from the transcript of the deposition of Adam Pulaski taken on June 14, 2023, in connection with

 this case.

         8.        Attached hereto as TCC Trial Exhibit 766 is a true and correct copy of an email

 dated February 26, 2023, marked as deposition exhibit no. 6 during the Mikal Watts April 17, 2023

 deposition, in connection with this case.

         9.        Attached hereto as TCC Trial Exhibit 768 is a true and correct copy of excerpts of

 the transcript of proceedings held on September 19, 2022 before the United States Court of Appeals

 for the Third Circuit in In re LTL Management LLC, Case No. 22-2003.

         10.       Attached hereto as TCC Trial Exhibit 770 is a true and correct copy of excerpts

 from the transcript of the deposition of John Kim taken June 1, 2023, in connection with this case.

         11.       Attached hereto as TCC Trial Exhibit 772 is a true and correct copy of excerpts

 from the transcript of the deposition of Erik Haas taken June 7, 2023, in connection with this case.

         12.       Attached hereto as TCC Trial Exhibit 774 is a true and correct copy of excerpts

 from the transcript of the deposition of James Onder taken June 8, 2023, in connection with this

 case.

         13.       Attached hereto as TCC Trial Exhibit 776 is a true and correct copy of excerpts

 from the transcript of the deposition of Nabil Majed Nachawati taken May 24, 2023, in connection

 with this case.

         14.       Attached hereto as TCC Trial Exhibit 779 is a true and correct copy of excerpts



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 from the transcript of the deposition of Mikal Watts taken June 12, 2023, in connection with this

 case.

         15.    Attached hereto as TCC Trial Exhibit 785 is a true and correct copy of a document

 entitled “Form 10-Q,” for quarterly period ended April 2, 2023, filed by Johnson and Johnson with

 the United States Securities and Exchange Commission.

         16.    Attached hereto as TCC Trial Exhibit 788 is a true and correct copy of the excerpts

 of the transcript of proceedings held on April 18, 2023, in connection with this case.

         17.    Attached hereto as TCC Trial Exhibit 792 is a true and correct copy of a document

 entitled “Amended and Restated Funding Agreement,” dated October 12, 2021, bearing Bates

 numbers LTL 0002300 to LTL 0002320, produced by Debtor in connection with this case.

         18.    Attached hereto as TCC Trial Exhibit 794 is a true and correct copy of the

 Declaration of John K. Kim in Support of First Day Pleadings (Doc. 4), filed on April 4, 2023 by

 Debtor in connection with this case.

         19.    Attached hereto as TCC Trial Exhibit 800 is a true and correct copy of a document

 entitled “Minutes of Board Managers,” dated March 16, 2023, bearing Bates numbers LTLMGMT

 00002626 to LTLMGMT 00002627, produced by Debtor in connection with this case.

         20.    Attached hereto as TCC Trial Exhibit 801 is a true and correct copy of a document

 entitled “Minutes of Board Managers,” dated March 28, 2023, bearing Bates numbers LTLMGMT

 00000001 to LTLMGMT 00000005, produced by Debtor in connection with this case.

         21.    Attached hereto as TCC Trial Exhibit 805 is a true and correct copy of a redacted

 document entitled “Presentation to Board of Managers of LTL Management LLC,” dated April 2,

 2023, bearing Bates numbers LTLMGMT 00000260 to LTLMGMT 00000271, produced by

 Debtor in connection with this case.



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         22.    Attached hereto as TCC Trial Exhibit 826 is a true and correct copy of excerpts

 from the transcript of the deposition of James Murdica taken May 30, 2023, in connection with

 this case.

         23.    Attached hereto as TCC Trial Exhibit 832 is a true and correct copy of an excerpt

 from the Onder Law Injury Attorneys Blog regarding J&J Talc Resolution Q&A.

         24.    Attached hereto as TCC Trial Exhibit 835 is a true and correct copy of Lance

 Entrekin’s Declaration Pursuant to Rule 80, ARCP, dated April 7, 2023.

         25.    Attached hereto as TCC Trial Exhibit 854 is a true and correct copy of excerpts

 from the transcript of the deposition of Adam Lisman taken May 31, 2023, in connection with this

 case.

         26.    Attached hereto as TCC Trial Exhibit 858 is a true and correct copy of the

 Supporting Documentation to the Debtor's March 2023 Monthly Operating Report (Doc. 3948),

 filed in In re LTL Management LLC, Case No. 21-30589 (MBK) (Bankr. D.N.J. May 1, 2023).

         27.    Attached hereto as TCC Trial Exhibit 863 is a true and correct copy of excerpts

 from the transcript of the deposition of Robert Wuesthoff taken May 30, 2023, in connection with

 this case.

         28.    Attached hereto as TCC Trial Exhibit 892 is a true and correct copy of excerpts

 from the transcript of the deposition of Richard Dickinson taken May 31, 2023, in connection with

 this case.

         29.    Attached hereto as TCC Trial Exhibit 904 is a true and correct copy of the excerpts

 of the transcript of proceedings held on May 11, 2023, in connection with this case.

         30.    Attached hereto as TCC Trial Exhibit 909 is a true and correct copy of the excerpts

 of the transcript of the deposition of Robert Wuesthoff taken December 22, 2021 in In re LTL



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 Management LLC, Case No. 21-30589 (MBK) (Bankr. D.N.J.).

         31.       Attached hereto as TCC Trial Exhibit 951 is a true and correct copy of excerpts

 from the transcript of the deposition of John Kim taken April 14, 2023, in connection with this

 case.

         32.       Attached hereto as TCC Trial Exhibit 952 is a true and correct copy of excerpts

 from the transcript of the deposition of Adam Pulaski taken on April 15, 2023, in connection with

 this case.

         33.       Attached hereto as TCC Trial Exhibit 953 is a true and correct copy of excerpts

 from the transcript of the deposition of James Murdica taken April 16, 2023, in connection with

 this case.

         34.       Attached hereto as TCC Trial Exhibit 955 is a true and correct copy of excerpts

 from the transcript of the deposition of Richard Dickinson taken April 17, 2023, in connection

 with this case.

         35.       Attached hereto as TCC Trial Exhibit 1001 is a true and correct copy of the excerpts

 of the expert report of Charles H. Mullin, Ph.D. dated June 7, 2023 and served in In re LTL

 Management LLC, Case No. 21-30589 (MBK) (Bankr. D.N.J.).

         36.       Attached hereto as TCC Trial Exhibit 1003 is a true and correct copy of the excerpts

 of the expert report of Gregory K. Bell, Ph.D. dated June 7, 2023 and served in in connection with

 this case.

         37.       Attached hereto as TCC Trial Exhibit 1006 is a true and correct copy of the excerpts

 of the transcript of proceedings held on February 14, 2022, in In re LTL Management LLC, Case

 No. 21-30589 (MBK) (Bankr. D.N.J.).

         38.       Attached hereto as TCC Trial Exhibit 1011 is a true and correct copy of the excerpts



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 of the transcript of proceedings held on February 18, 2022, in In re LTL Management LLC, Case

 No. 21-30589 (MBK) (Bankr. D.N.J.).

        39.     Attached hereto as TCC Trial Exhibit 1012 is a true and correct copy of the June

 20, 2023 Onder Law Client Update.

        40.     Attached hereto as TCC Trial Exhibit 1014 is a true and correct copy of the Brief

 for Andrew R. Vara, United States Trustee, as Amicus Curiae in Support of Appellants and

 Supporting Reversal (Doc. 45), filed in In re LTL Management LLC, Case No. 22-2003 (3d Cir.

 June 30, 2022).

        41.     Attached hereto as TCC Trial Exhibit 1016 is a true and correct copy of J.P.Morgan

 investment analysts summary entitled “Johnson & Johnson Quick Thoughts On Today’s Talc

 Update,” dated January 30, 2023, produced by Debtor’s bearing Bates numbers JPM-0000001 to

 JPM-0000007.

        42.     Attached hereto as TCC Trial Exhibit 1017 is a true and correct copy of the excerpts

 of the transcript of proceedings held on May 16, 2023, in connection with this case.

        43.     Attached hereto as TCC Trial Exhibit 1018 is a true and correct copy of the excerpts

 of the transcript of proceedings held on May 30, 2023, in connection with this case.

        44.     Attached hereto as TCC Trial Exhibit 1019 is a true and correct copy of the excerpts

 of the transcript of proceedings held on June 2, 2023, in connection with this case.

        45.     Attached hereto as TCC Trial Exhibit 1020 is a true and correct copy of the excerpts

 of the transcript of proceedings held on June 13, 2023, in connection with this case.

        46.     Attached hereto as TCC Trial Exhibit 1022 is a true and correct email regarding

 What You Should Know About the $809B Talc Resolution.

        I declare under penalty of perjury that the foregoing is true and correct.



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        Executed in the State of New Jersey on June 22, 2023.



                                                    /s/ Daniel M. Stolz
                                                   Daniel M. Stolz




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